            Case 1:21-cr-00584-KWR Document 68 Filed 05/17/22 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


 UNITED STATES OF AMERICA,                       §
                                                 §
                        Plaintiff,               §
                                                 §
 v.                                              §                 No. 1:21-CR-00584-001 KWR
                                                 §
 JEREMY ATENCIO,                                 §
                                                 §
                        Defendant.               §


             UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING

       Jeremy Atencio, through counsel, requests that the court vacate the sentencing hearing

currently set for June 1, 2022 and reset the sentencing hearing approximately 90 days from the

currently-scheduled date. The government is not opposed to this request. In support of this

motion, Mr. Atencio states the following:

       1.       Mr. Atencio pleaded guilty to a single count of burglary, contrary to 18 U.S.C. §§

13 and 1152; and NMSA 1978, § 30-16-3B; pursuant to a plea agreement presented to the court

on February 24, 2022.

       2.       Mr. Atencio has been out of custody since January 26, 2022, and has been

compliant with the terms of release since that time. He continues to receive treatment as ordered

by the court.

       3.       The Presentence Report is not yet complete. The presentence interview took place

on May 5, 2022.
             Case 1:21-cr-00584-KWR Document 68 Filed 05/17/22 Page 2 of 2




        4.       Once disclosed, defense counsel will need to review the Presentence Report with

his client and based on that meeting, defense counsel may make informal objections to the PSR.

Mr. Atencio may also be required to file formal objections.

        5.       Rule 32(e)(1) requires that the PSR be disclosed no later than 35 days prior to the

sentencing hearing. After consultation with the PSR author and counsel for the government,

defense counsel believes that a continuance of 90 days will be sufficient to prepare any necessary

sentencing pleadings.

        6.       The government, through AUSA Frederick T. Mendenhall , III, does not oppose

this request.

        WHEREFORE, Mr. Atencio respectfully requests that this Court enter an order resetting

the sentencing hearing in approximately 90 days.

                                               Respectfully submitted,

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                                               /s/ Electronically filed on 5/17/22
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